        Case 4:21-cv-04077 Document 1 Filed on 12/15/21 in TXSD Page 1 of 8




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  GALVESTON DIVISION


WRIST USA (HOUSTON), INC.                        §
                                                 §
                Plaintiff,                       §
                                                 §           CIVIL ACTION NO. 4:21-CV-4077
V.                                               §
                                                 §
M/V KINAROS, IMO: 9405538, her                   §
engines, tackle, equipment, furniture,           §
appurtenances, etc.,                             §
                                                 §
                Defendant in rem.                §                                  ADMIRALTY

                                    VERIFIED COMPLAINT

          NOW COMES, plaintiff, Wrist USA (Houston) Inc. (“Wrist USA”), through undersigned

counsel, and files its Verified Complaint against defendant in rem, the M/V KINAROS, for

damages and maritime arrest, and upon information and belief, avers as follows:

                                     Jurisdiction and Venue

          1.1   This is an admiralty and maritime claim within this Court’s admiralty jurisdiction

pursuant to 28 U.S.C. § 1333, Rule C of the Supplemental Rules for Certain Admiralty and

Maritime Claims of the Federal Rules of Civil Procedure, and Federal Rule of Civil Procedure

9(h).

          1.2   Venue is proper in this District in accordance with Admiralty Rule C as the

KINAROS is or will be within the physical jurisdiction of this Court during the pendency of this

action.

                                              Parties

          2.1   At all material times, plaintiff, Wrist USA, was a corporation with its principal

offices in Pasadena, Texas

{N1923735 -}                                      1
        Case 4:21-cv-04077 Document 1 Filed on 12/15/21 in TXSD Page 2 of 8




          2.2    At all material times defendant in rem, the KINAROS was and is, upon

information and belief, an oil / chemical tanker, owned by OCM Maritime Rhine LLC, managed

and operated by Eletson Corporation, and a member of a shipping group of companies owned

and/or controlled by Oaktree Capital Management LP.

          2.3    All necessaries at issue herein pertaining to the KINAROS were ordered by

Eletson Corporation, the manager and operator of the KINAROS, which was a duly appointed

and authorized agent of the vessel, her owners and operators to procure the necessaries at issue

herein.

                          Unpaid Necessaries Delivered to the KINAROS

          3.1    As more particularly described herein, Wrist USA, as Seller, contracted to provide

supplies, tools, provisions, and other necessaries to the KINAROS pursuant to separate purchase

order confirmations.       Each of the confirmations contained the following TERMS AND

CONDITIONS OF SALE: “All and any quotes, offers, agreements and deliveries of provisions,

stores, and/or any other goods or services of any kind of Seller are governed by the Sellers

General Terms and Conditions of Sale in force at the time of entering the agreement in question.

We encourage you to read and familiarize yourself with the General Terms and Conditions of

Sale at https://www.wrist.com/download/general_sales_terms/terms_conditions.pdf.”

          3.2    Furthermore, each invoice attached as an exhibit to this Verified Complaint also

provided as follows:

                  Any and all quotes, offers, agreements, and deliveries of provisions, stores
          and/or any other goods or services of any kind by Seller are governed by the
          Sellers General Terms and Conditions of Sale in force at the time of entering into
          the agreement in question. We encourage you to read and familiarize yourself
          with     the     General      Terms      and     Conditions       of     Sale     at
          https://www.wrist.com/download/general_sales_terms/terms_conditions.pdf.




{N1923735 -}                                       2
         Case 4:21-cv-04077 Document 1 Filed on 12/15/21 in TXSD Page 3 of 8




         3.3     For all contracts, orders, sales, and deliveries of goods to the KINAROS before

February 2, 2021, the applicable General Terms and Conditions of Sale (hereafter “2017 GTCs”)

in effect are set forth in the true and correct copy of which is attached as Exhibit A(1) and were

expressly incorporated by reference in the agreements to supply the KINAROS with necessaries

discussed infra. See One Beacon Ins. Co. v. Crowley Marine Servs., 648 F.3d 258, 268 (5th Cir.

2011).

         3.4     For all contracts, orders, sales, and deliveries of goods on and after February 2,

2021, the applicable General Terms and Conditions of Sale (hereafter “2021 GTCs”) in effect are

set forth in the true and correct copy of which is attached as Exhibit A(2) and were expressly

incorporated by reference in the agreements to supply the KINAROS with necessaries discussed

infra. See One Beacon Ins. Co. v. Crowley Marine Servs., 648 F.3d 258, 268 (5th Cir. 2011).

         3.5     Article K.3 of both the 2017 GTCs and the 2021 GTCs provided in relevant part,

as follows:

         Seller shall … have the right to proceed against the Buyer and / or any third party
         and / or the Vessel in such jurisdiction as the Seller shall in its sole discretion sees
         and deems fit, inter alia for the purpose of securing payment of any amount due
         Seller from the Buyer. In such circumstances, the proceedings shall be governed
         by the General Maritime Law of the United States of America with respect to the
         existence of a maritime lien (regardless of the country in which the Seller takes
         legal action) and in all other respects by the laws (substantive and procedural) of
         the jurisdiction so chosen by the Seller.

(Exh. A(1), 2017 GTCs, p. 3, art. K.3; Exh A(2), 2021 GTCs, p. 4, art. K.3.)

         3.6     Article G.8 of the 2021 GTCs provides for acceleration of the amounts due on the

due date as follows:

                 Notwithstanding any agreement to the contrary, any and all amounts owed
         to the Seller will be due and payable in cause of bankruptcy, insolvency,
         moratorium, reorganization or other situations of the Buyer which affect the
         Seller’s rights generally or which in the sole opinion of Seller adversely affects
         the financial position of Buyer.

{N1923735 -}                                        3
        Case 4:21-cv-04077 Document 1 Filed on 12/15/21 in TXSD Page 4 of 8




(Exh. A(2), GTCs, p. 3, art. G.8.)

         3.7    Article H.5 of the 2017 GTCs and Article G.5 of the 2021 GTCs provides for the

assessment of 2 per cent interest per month pro rata without prejudice to any other rights or

remedies of Seller. (Exh. A(1), 2017 GTCs p. 2, art. H.5; Exh. A(2), 2021 GTCs, pp. 2-3, art.

G.5.)

         3.8    Article H.6 of the 2017 GTCs and Article G.6 of the 2021 GTCs requires the

Buyer to indemnify the Seller from all interest charges, internal costs, expenses to lawyers and

debt collectors, court fees, etc. (Exh. A(1), 2017 GTCs p. 2, art. H.6; Exh. A(2), 2021 GTCs, p.

3, art. G.6.)

                              Necessaries Provided by Wrist USA

         4.1    On or about November 29, 2020, Wrist USA paid the customs clearance charges,

duties and taxes on owner’s goods delivered to the KINAROS in Houston, as more fully set forth

in the invoices attached hereto and identified as Exhibit B.

         4.2    On or about February 25, 2021, Wrist USA incurred charges for the delivery of

ship’s spares delivered to the KINAROS in Long Beach, California, as more fully set forth in the

invoices attached hereto and identified as Exhibit B.

         4.3    On or about July 10, 2021, Wrist USA delivered linens and other cabin stores,

copy paper and other office supplies, an electric hot plate, light bulbs, tools and other engine

stores, food and other provisions, water, wine, beer and cigarettes, mooring wires and ropes,

safety equipment, COVID safety equipment, rags, cleaning supplies and other deck stores, as

well as paid customs clearance, duties, taxes and delivery charges to transport owners’ spares

and other goods to the KINAROS in Houston, as more fully set forth in the invoices attached

hereto and identified as Exhibit B.

{N1923735 -}                                     4
        Case 4:21-cv-04077 Document 1 Filed on 12/15/21 in TXSD Page 5 of 8




         4.4   The Wrist USA invoices for the November 2020 delivery to the KINAROS in

Houston, as well as the February and July, 2021 deliveries to the KINAROS in Long Beach and

Houston were not paid by their due date, thereby giving rise to maritime liens, under the

Commercial Instruments and Maritime Lien Act, 46 U.S.C. §§ 31431 et seq., against the

KINAROS.

         4.5   On or about September 26, 2021, Wrist USA delivered $100.00 bills to pay the

wages of the crew of the KINAROS, as well as paid the customs clearance charges, duties, taxes,

and delivery fees for the delivery of owners goods to the KINAROS in New Orleans, as more

fully set forth in the invoices attached hereto and identified as Exhibit B.

         4.6   From approximately November 3 through 8, 2021, Wrist USA delivered napkins

and other kitchen stores, drinks, food and other provisions, and paid the customs duties, taxes,

fees and delivery charges for owners goods, as well as the ignitors for sodium lamps to the

KINAROS in Houston, as more fully set forth in invoices attached hereto and identified as

Exhibit B.

         4.7   Recently, Wrist USA has learned that banks and other financial institutions have

foreclosed on the outstanding balance owed on a fleet mortgage issued in part to Eletson

Corporation by arresting a sister ship. Additionally, the participants in a sale/lease-back/sale

transaction involving the KINAROS and another vessel have filed suit to demand return of

possession. In accordance with Article G.8 of the GTCs, Wrist USA believes all of its invoices

issued to Eletson Corporation are at significant risk of default. This belief is further supported

by the facts that Wrist USA and its affiliates, East Coast Ship Supply, LLC, Wrist-Klevenberg,

and Karlo Corporation Supply & Services, have outstanding amounts that are due. As provided

in Article G.8 of the GTCs, Wrist USA now accelerates the amounts owed on the invoices



{N1923735 -}                                      5
        Case 4:21-cv-04077 Document 1 Filed on 12/15/21 in TXSD Page 6 of 8




reflecting the deliveries to the KINAROS in New Orleans during September 2021 and Houston

during November 2021, such that they are now due and owing, thereby giving rise to a maritime

lien, under the Commercial Instruments and Maritime Lien Act, 46 U.S.C. §§ 31431 et seq.,

against the KINAROS.

         4.8     Because all of the foregoing necessaries were supplied by Wrist USA in the

territorial waters of the States of Texas, California and Louisiana, they qualify as a maritime lien

for necessaries provided in the United States for purposes of 46 U.S.C. § 31326(b)(2).

         4.9     Any necessaries delivered by Wrist USA to the KINAROS after her arrest on

November 5, 2021 at 8:45 p.m. local time should, alternatively, be paid in preference to all other

charges and amounts due as expenses of custodia legis.

         4.10    The total principal amount owed to Wrist USA totals $64,240.44 plus interest.

                                      Amounts Presently Due

         5.1     As of the date of this filing, Plaintiffs are owed the following amounts:



                                          Invoice Amount                  US Dollar Equivalent

Wrist USA                                               $64,240.44                           $64,240.44
Court Costs                                                $402.00                              $402.00
U.S. Marshal Deposit                                    $10,000.00                           $10,000.00
Accrued Interest                                         $7,708.85                            $7,708.85
Accrued Attorney’s Fees                                 $10,000.00                           $10,000.00
TOTAL                                                                                        $92,351.29

                Request for Arrest of the KINAROS Pursuant to Admiralty Rule C

         6.1     The KINAROS is or will be within this District during the pendency of this

admiralty and maritime claim to recover for necessaries provided by Wrist USA to the

KINAROS.

         6.2     Pursuant to Admiralty Rule C, Wrist USA is entitled to arrest the KINAROS to

{N1923735 -}                                       6
        Case 4:21-cv-04077 Document 1 Filed on 12/15/21 in TXSD Page 7 of 8




satisfy its claims, including but not limited to the unpaid invoice amounts, prejudgment interest,

costs, expenses and attorney’s fees.

         6.3   Plaintiff agrees to release and hold harmless and indemnify the United States of

American, the United States Marshals, their agents, servants, employees, and all others for whom

they are responsible, from any and all liability or responsibility for claims arising from the arrest

of the aforesaid KINAROS.

         6.4   All and singular the foregoing premises are true and correct within the admiralty

jurisdiction of this Honorable Court.

         WHEREFORE, plaintiff, Wrist USA (Houston), Inc., prays:

         1.    That this Verified Complaint be deemed good and sufficient;

         2.    That process in due form of law, according to the rules and practices of this

Honorable Court, issue against the M/V KINAROS, her engines, tackle, apparel, furniture,

equipment, and all other necessaries, in rem, by way of arrest pursuant to Supplemental

Admiralty Rule C, and that all persons claiming interest in said vessel be required to appear and

to answer under oath, all and singular the matters aforesaid;

         3.    That after due proceedings are had, there be judgment entered in favor of Wrist

USA (Houston) Inc. and against defendant, the KINAROS, her engines, tackle, apparel,

furniture, equipment, and all other necessaries, in rem, requiring defendant to pay damages to in

the amounts of $64,240.44 for necessaries delivered to the M/T KINAROS, and all other

damages as may be proven at trial, with prejudgment interest, attorney’s fees, and all costs of

these proceedings; and,

         4.    For all general and equitable relief to which this Honorable Court is competent to

grant and plaintiff is otherwise entitled.



{N1923735 -}                                     7
        Case 4:21-cv-04077 Document 1 Filed on 12/15/21 in TXSD Page 8 of 8




                                Respectfully submitted:



                                /s/ James D. Bercaw
                                JAMES D. BERCAW
                                (Motion for admission pro hac vice to be filed)
                                ROBERT J. STEFANI (TX 24077138)
                                KING & JURGENS, L.L.C.
                                201 St. Charles Avenue, 45th Floor
                                New Orleans, Louisiana 70170
                                Telephone: (504) 582-3800
                                Facsimile: (504) 582-1233
                                E-Mail: jbercaw@kingjurgens.com
                                         rstefani@kingjurgens.com

                                               and

                                Michael S. Wright
                                Fed. ID No. 6985
                                6363 Woodway, Ste. 820
                                Houston, TX 77057
                                Tel: 713.334.5644
                                Fax: 713.715.4778
                                mwright@kingjurgens.com

                                Attorneys for Plaintiff, Wrist USA (Houston), Inc.

PLEASE SERVE:
The Master of the M/V KINAROS, IMO: 9405538
And Issue a Warrant for the Arrest of the
M/V KINAROS




{N1923735 -}                              8
